                          United States District Court
                           District of Massachusetts


GEORGE GUNTER

                            PLAINTIFF

               v.

ANTHONY O. CICERO and                                  CIVIL ACTION NO.: 3:16-CV-30183
JOHN LOPEZ

                            DEFENDANTS




                   DEFENDANTS’ EMERGENCY MOTION
         FOR AN ORDER THAT THE MASSACHUSETTS SUPERIOR COURT
       RELEASE A CERTIFIED COPY OF THE PLAINTIFF’S CONDITIONS OF
                              PROBATION

       NOW come the Defendants, Anthony O. Cicero and John Lopez (hereinafter

“Defendants”), and move this Honorable Court for an order compelling the Hampden County

Superior Court Clerk’s Office to release a certified copy of the conditions of probation imposed

upon the Plaintiff, George Gunter (hereinafter “Plaintiff”), on October 12, 2012.

       As grounds for this motion the Defendants state:

       1. The Plaintiff was on probation arising out of the October 12, 2012 order at the time of

           the events that form the basis of this action;

       2. The Superior Court clerk’s office has stated it will not release a certified copy of the

           conditions of probation without a court order;
    3. The emergency motion is necessitated because the Defendants believed the order of

        probation, including the recitation of the conditions of probation, were a public

        record, and that such document could be obtained without a court order;

    4. The conditions of probation are relevant to this action in that the Defendants believe

        the Plaintiff was under an order to remain drug and alcohol free, and by his own

        admission on the night in question he had used both alcohol and drugs (i.e.

        marijuana);

    5. The fact of the conditions of probation gave the Plaintiff a reason to resist arrest,

        assault the police officers and flee the scene; and

    6. There is no danger of unfair surprise or prejudice to the Plaintiff, since he has at all

        times been fully aware that he was on probation, and what the conditions of such

        probation were.

                                              RESPECTFULLY SUBMITTED,

                                              /s/ Kathleen E. Sheehan
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                                       CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true copy of the within EMERGENCY Motion was this day served
upon all counsel via the Federal Court’s ECF Notice and delivery system to all parties.



SIGNED under the pains and penalties of perjury.

Dated: October 29, 2018                            /s/ Kathleen E. Sheehan
                                                   Kathleen E. Sheehan, Esq.
